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                                                                                                                           Rev. 12/15/11



                                     IN THE UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF PENNSYLVANIA
                                               PHILADELPHIA DIVISION

IN RE:     Tracey Kennedy                                                 :   CHAPTER 13
                                                                          :   CASE NO. 15-14765
                                                                          :
                                                                          :
                                                                          :
                                      Debtor                                            (Indicate if applicable)
                                                                          :
                                                                          :         X       ORIGINAL PLAN
                                                                          :                 AMENDED PLAN




                                                  YOUR RIGHTS WILL BE AFFECTED

If you oppose any provision of this plan you must file a timely written objection. This plan may be confirmed and become binding
on you without further notice or hearing unless a written objection is filed before the deadline stated on the Notice issued in
connection with the filing of the plan.

PLAN PROVISIONS DISCHARGE: (Check one)
           The debtor will seek a discharge of debts pursuant to Section 1328(a).
           The debtor is not eligible for a discharge of debts because the debtor has previously received a discharge
           described in 1328(f).


NOTICE OF SPECIAL PROVISIONS: (Check if applicable)
           This plan contains special provisions that are not included in the standard plan as recommended by the Chapter 13
           standing trustees in the Eastern District of Pennsylvania. Those provisions are set out in the OTHER PLAN
           PROVISIONS section of this plan.

1.    PLAN FUNDING AND LENGTH OF PLAN

      A.      Payments by the debtor of         $505.00        per month for             60         months. This monthly plan payment
              will begin no later than 30 days following the date of the filing of the bankruptcy petition or the date of conversion to
              Chapter 13.


      B.      In addition to the above specified plan payments, the debtor agrees to dedicate to the plan the estimated amount of
              sale proceeds as follows:                     from the sale of property (describe property)

              All sales will be completed by                                        .
                                                                                                                                          .
              Other lump sum payments shall be paid to the trustee as follows:


              Other payments from any source (describe specifically) shall be paid to the trustee as follows:


      C.      For amended plans:
              (1) The plan payments by the debtor shall consist of the total amount previously paid (                    ) added to
              the new monthly payment in the amount of                        for the remaining        months of the plan for a total
              base amount, as amended, of                        plus other payments and property stated in Paragraph B above.
              (2) The payment amount shall change effective                         .

              (3) The debtor shall take appropriate action to ensure that all wage attachment payments are adjusted to conform
              to the terms of the amended plan.

      D.      The debtor is responsible for funding the plan.
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  2.   SECURED CLAIMS
       A.   Adequate Protection Payments under Section 1326.          Adequate protection payments in the following amounts will be
            paid by the debtor to the trustee. The trustee will disburse pre-confirmation adequate protection payments for which a
            proof of claim has been filed as soon as practicable after receipt of said payments from the debtor. Adequate
            protection payments will terminate upon confirmation of the debtor's Chapter 13 Plan, and any further payments to a
            creditor previously receiving adequate protection payments will be governed according to the terms of the confirmed
            plan.

                       Name of Creditor /                                   Account #              Payment             Month of 1st
                          Address                                                                                       Payment

       B.   Mortgages and Other Direct Payments by Debtor. Payments will be made outside the plan according to the original
            contract terms, with no modification of contract terms and with liens retained.

                           Name of Creditor /                                   Contractual           Principal            Contract
                         Description of Collateral                               Monthly              Balance               Rate of
                                                                                 Payment              of Claim             Interest

  Michael McKeever                                                                      $870.00       $118,000.00                   0.00%
  property
       C.   Arrears.

                           Name of Creditor /                                   Pre-Petition            Interest          Total to be
                         Description of Collateral                              Arrears to be             Rate            paid in plan
                                                                                   Cured

  Michael McKeever                                                                   $25,000.00                0.00%             $25,000.00
  property
       D.   Secured Claims Paid According to Modified Terms. These amounts will be paid in the plan according to modified
            terms, and liens retained until entry of discharge. The excess of the creditor's claim will be treated as an unsecured
            claim. Any claim listed as "NO VALUE" in the "Modified Principal Balance" column below will be treated as an
            unsecured claim. A MOTION AND/OR AN ADVERSARY ACTION, AS APPROPRIATE SHALL BE FILED UNDER
            SECTION 506(a) TO DETERMINE THE EXTENT, VALIDITY, AND PRIORITY OF THE LIEN.

                 Name of Creditor /                             Modified         Interest          Total                Plan* or
               Description of Collateral                        Principal          Rate           Payment              Adversary
                                                                Balance                                                  Action

       E.   Other Secured Claims.

                               Name of Creditor /                                         Principal       Interest       Total to be
                             Description of Collateral                                   Balance of         Rate         paid in plan
                                                                                           Claim

       F.   Surrender of Collateral:

                        Name of Creditor                                       Description of Collateral to be Surrendered

       G.   Lien Avoidance: The debtor moves to avoid the liens of the following creditors pursuant to Section 522(f):

                        Name of Creditor                                                  Description of Collateral

  3.   PRIORITY CLAIMS
       A.   Allowed unsecured claims entitled to priority under section 507 will be paid in full with the exception of certain
            assigned Domestic Support Obligations that may be paid less than 100% pursuant to section 1322(a)(4).
                        Name of Creditor                                                       Total Payment
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        B.    Administrative Claims:     (1)   Trustee fees. Percentage fees payable to the trustee will be paid at the rate fixed by the
                                               United States Trustee, not to exceed 10%.
                                         (2)   Attorney Fees. In addition to the retainer of    $945.00      already paid by the debtor,
                                               the amount of      $2,055.00        in the plan.
  4.    UNSECURED CLAIMS

        A.    Claims of Unsecured Non-Priority Creditors Specially Classified.      Includes unsecured claims, such as co-signed
              unsecured debts, that will be paid in full even though all other unsecured claims may not be paid in full:

                                Name of Creditor /                                         Amount of        Interest     Total Payment
                          Reason for Special Classification                                 Claim             Rate

        B.    Claims of General Unsecured Creditors.      The debtor estimates that a total of        $215.00      will be available for
              distribution to unsecured creditors. The debtor calculates that a minimum of            $0.00       must be paid to
              unsecured creditors in order to comply with the liquidation test for confirmation and the debtor calculates that a
              minimum of not determined must be paid to unsecured, non-priority creditors in order to comply with the Means
              Test.
        C.    Funding (check one)
                 Pro Rata
                 100%

  5.    EXECUTORY CONTRACTS AND UNEXPIRED LEASES.
        A.    The following executory contracts and unexpired leases are assumed (and pre-petition arrears to be cured in the plan)
              or rejected (so indicate):

                                Name of Creditor /                                         Amount of        Interest     Total Payment
                          Reason for Special Classification                                 Claim             Rate


  6.    OTHER PLAN PROVISIONS:
  7.    ORDER OF DISTRIBUTION:
  Payments from the plan will be made by the trustee in the following order:
  Level 1:
  Level 2:
  Level 3:
  Level 4:
  Level 5:
  Level 6:
  Level 7:
  Level 8:

  If the above Levels are not filled-in, then the order of distribution of plan payments will be determined by the trustee using the
  following as a guide:

  Level 1:   Adequate protection payments.
  Level 2:   Domestic Support Obligations.
  Level 3:   Debtor's attorney's fees.
  Level 4:   Priority claims, pro rata.
  Level 5:   Secured claims, pro rata.
  Level 6:   Specially classified unsecured claims.
  Level 7:   General unsecured claims.
  Level 8:   Untimely filed unsecured claims to which the debtor has not objected.

  8.    REVESTING OF PROPERTY: (Check One)

             Property of the estate will vest in the debtor upon confirmation.
             Property of the estate will vest in the debtor upon closing of the case.
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  GENERAL PRINCIPLES APPLICABLE TO ALL PLANS
       1.    All pre-petition arrears and cramdowns shall be paid to the trustee and disbursed to creditors through the plan.

       2.    If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the trustee will treat the
             claim as allowed, subject to objection by the debtor. Claims filed after the bar date that are not properly served on the
             trustee will not be paid. The debtor is responsible for reviewing claims and filing objections, if appropriate.

       3.    In the event that any creditor in any class refuses any disbursement from the standing trustee, the standing trustee
             shall be authorized to disburse those funds to other creditors in the same class, or if all such similarly classified
             creditors have already been paid, to other creditors in the next level of priority, without seeking a modification of the
             plan.

       4.    If debtor is successful in obtaining a recovery in any personal injury or other litigation in which debtor is the plaintiff
             during the term of this plan, any such recovery in excess of any applicable exemption will be paid to the trustee as a
             special plan payment, in addition to debtor's regular plan payments, for the benefit of the unsecured creditors.


  Dated:    8/6/2015                                                    /s/ Erik B. Jensen
                                                                        Erik B. Jensen, Attorney for Debtor

                                                                        /s/ Tracey Kennedy
                                                                        Tracey Kennedy, Debtor
